Case 1:19-cr-10040-JTF Document 69-2 Filed 05/12/19 Page i1of3 PagelD 206

UNITED STATES OF AMERICA

Plaintiff,

Vv.

JEFFREY W. YOUNG, JR.

Defendant.

IN THE UNITED STATES DISTRICT COURT
FOR THE
WESTERN DISTRICT OF TENNESSEE, at JACKSON

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)
)
) Case No. 19-CR-10040-JDB
)
)
)
)

DECLARATION OF JOHN C. WOOD, M.D.

The undersigned, John C. Wood, M.D., being eighteen (18) years of age or older, states as

follows:

l,

lam not a party to this action and am a physician employed by Integrated Internal
Medicine, P.C. in Chattanooga, Tennessee.

During the late afternoon of May 9, 2019, I received a document entitled
“SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE” (the
“Subpoena”) in the above-referenced matter, which commanded me to appear two
(2) business days later in a courtroom more than five hours away from my home
and practice location and to remain for an indeterminate time until released by a
judge or court officer of said Court. The Subpoena also demands that I retrieve and
bring with me certain documents, including but not limited to a patient file for an
ostensible patient with a name similar to but stated differently than the name of one
of the named defendants in this matter. (Compare Jeffrey W. Young, Jr. versus

Jeffrey W. Young, II.)
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3. On May 10, 2019, I was able to confer with counsel who, in turn, on May 10, 2019,
contacted the Assistant United States Attorney issuing the Subpoena to object to
the oppressiveness and unreasonableness (among other things) relative to the
timing as stated in the Subpoena that was required for compliance with the
Subpoena.

4. Attempting to comply with Subpoena within two (2) business days of its receipt,
for my personal appearance and the production of certain documents including, but
not Itmited to, electronically stored information which is in the possession of Mr.
Young which are reviewed by Dr. Wood while in Mr. Young’s office in Jackson,
Tennessee on at least one occasion per month on Monday, May 13, 2019 at 1:30
pm. in a foreign city that is more than five hours away from my home and medical
practice, immediately following a weekend which includes Mother’s Day, would
cause disruption to my professional practice and personal obligations.

5. On May 11, 2019, Claiborne H.-Ferguson, Esq, as counsel for Mr. Young, stated
that Mr. Young does waive any physician-patient privilege that Mr. Young may
have.

I declare under penalty of perjury that the aforesaid Statements are true and correct.
FURTHER DECLARANT SAITH NOT.

a~om
Executed at Chattanooga, Tennessee, on this /? day of May, 2019.

S) x Woe? MW. 2)-

Jol{n C. Wood, M.D.

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CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies thaton May __, 2019, a true and correct copy
of the foregoing document was forwarded by electronic means through the Court’s ECF System
and by email to the following parties:

Andrew Pennebaker, Esq.

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Criminal, Fraud Section

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s/ John P. Konvalinka

